Case 2:05-cV-02543-.]DB-tmp Document 8 Filed 08/04/05 Page 1 of 2 Page|D 1

UN|TED STATES D|STR|CT COURT
WESTEFlN DlSTR|CT TENNESSEE

THOMAS M. GOULD MEMPH|S (9[)|) 495-1200
CL.ERK OF COURT WESTERN DlVISION FAX (90!) 495¢1250
.|ACKSON (73 i) 421 -9200

FAX (731) 421-9210

 

m _£a`" 49 am

August 4, 2005

RE: Jarvis D. Cohen Vs. State of Tennessee

Attn: ALL PART[ES ON RECORD

The above styled case has been transferred to this office from the Eastern District of
Tennessee (Winchester). This action is designated as 05cv2543-B/P, and assigned to Judge J.
Daniel Breen and Magistrate Judge Tu M. Pham.

Please use our 050v2543-B/P on all pleadings and correspondence relating to this case.
ORIGINAL and TWO COPIES of all pleadings should be filed in this office.

Sincerely,
Thomas M. Gould, Clerk of Court

BY: /;MZ¢;¢U/&M»ZM j

Deputy Cle

242 FEDERAL BUll_.DlNG 262 FEDERAL BUILDING
167 N. MA[N STREET l ll S. HIGHLAND

MEMPHIS, TENNESSEE 38103 JACKSON, TENNESSEE 38301 .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02543 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

.larvis D. Cohen

SOUTHEASTERN TENNESSEE STATE REGIONAL CORRECTIONAL FACILITY
309453

Route 4, BoX 600

Pikesville, TN 37367

Honorable .l. Breen
US DISTRICT COURT

